                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF DELAWARE

FROME WYE LIMITED,
             Plaintiff,
      v.                                        No. 22-MC-249-CFC

HOSIE RICE LLP, SPENCER HOSIE,                  [FILED UNDER SEAL]
AND DIANE RICE,
             Defendants.


     FROME WYE LIMITED’S MOTION FOR RECONSIDERATION

      Plaintiff Frome Wye Limited (“Plaintiff”) by and through its undersigned

counsel, respectfully requests reconsideration of its Motion for Leave to File Under

Seal (D.I. 1; see also D.I. 9) in the above-captioned matter pursuant to Federal

Rules of Civil Procedure 5.2(d), 59(e), and District of Delaware Local Rule of

Civil Practice and Procedure 5.1.3. In support of this Motion, Plaintiff avers as

follows:

      1.     On June 2, 2022, Plaintiff filed a Motion requesting leave to file under

seal a Petition to Confirm an Award (the “Award”). (D.I. 1.) The Motion for

leave to file under seal (the “Motion”) states there is good cause to seal Plaintiff’s

Petition to Confirm the Award because Section 16.1 of an Agreement - between

parties to this lawsuit - requires the parties thereto to maintain the confidentiality of

the contents of the Petition. (See, e.g., D.I. 1 ¶ 2.)
      2.     On June 2, 2022, the Court granted in part and denied in part the

Motion. (D.I. 7.) In so doing, the Court maintained the exhibits to the Petition

under seal, but unsealed Plaintiff’s Petition. (See D.I. 8.) The information in the

Petition is based on the confidential information contained in the sealed exhibits

and discloses some of that confidential information. (See, e.g., D.I. 2 ¶¶ 8-31.)

      3.     After the Court partially denied Plaintiff relief (see D.I.7), Plaintiff

filed a Letter seeking reconsideration to maintain the Petition under seal. (See D.I.

9.) Plaintiff filed its Letter, as opposed to a formal motion like this one, to

expedite reconsideration of the Court’s Order and protect the parties’ contracted

for “goodwill, inter alia, and business interests” (id.) as expediently as possible.1

Plaintiff’s Letter explains: “[p]ursuant to Section 16.1 of the Agreement, the

parties acknowledged that disclosure of Confidential Information could result in

irreparable injury, and Section 18.12.3 of the Agreement states that ‘Confidential

Information’ includes the arbitration proceedings, judgment, and all other

information related to arbitration initiated pursuant to the Agreement.” (Id. ¶ 2.)

      4.     This Court applies a “good cause” standard to justify sealing or

redacting judicial records; the standard is a “balancing process, in which [the]

court[] weigh[s] the harm of disclosing information against the importance of


1 See, e.g., Amgen Inc. v. Amneal Pharma LLC, No. 16-853-MSG, 2021 WL
4843959, at *1 (D. Del. Oct. 18, 2021) (“Cipla filed a letter with the Court
requesting that [the Court] reconsider the portion of [its] order denying Cipla’s
motion to seal the data spreadsheets.”).

                                           2
disclosure to the public.” Mosaid Techs. Inc. v. LSI Corp., 878 F. Supp. 2d 503,

507-08, 510 (D. Del. 2012). Courts in this District have found good cause to seal

or redact information concerning arbitration awards, the underlying proceedings,

and the agreements containing sensitive commercial information that parties have

agreed to protect from public disclosure. See, e.g., Intellectual Ventures Mgmt.,

LLC v. Nokia Corp., C.A. No. 17-1002-CFC, D.I. 12 (D. Del. July 25, 2017) (“IV

may file its (1) Petition to Vacate Final Arbitration Award and exhibit . . . under

seal.”); see also Mylan Inc. v. SmithKline Beecham Corp., 723 F.3d 413, 415 n.3

(3d Cir. 2013) (holding good cause existed to seal records “to protect the parties’

confidential proprietary business and competitive interests.”),

      5.     Motions for reconsideration may be granted to prevent manifest

injustice. See, e.g., Amgen Inc., 2021 WL 4843959, at *2 (“I will exercise my

discretion in favor of granting Cipla’s motion for reconsideration in order to

prevent a manifest injustice.”) (vacating portion of the Sealing Order denying

Motion to Seal). Pursuant to Local Rule 7.1.5, reconsideration motions should be

granted “sparingly[,]” but – as noted – the Court may use its discretion to prevent

manifest injustice. See, e.g., In re: Application of Storage Etzel GmbH, C.A. No.

19-MC-209-CFC, D.I. 11 at 2 (D. Del. Oct. 30, 2019) (citing Max’s Seafood Café

by Lou-Ann, Inc. v. Quinteros, 176 F.3d 669, 677 (3d Cir. 1999).




                                          3
      6.      As noted in Plaintiff’s Letter (D.I. 9), Plaintiff seeks reconsideration

of this Court’s Order denying its request to seal the Petition to prevent manifest

injustice to the parties. Public dissemination of the information in Plaintiff’s

Petition could cause irreparable harm to both parties if disclosed because the

parties privately contracted to protect their good will and business interests when

they entered into the confidentiality provisions of the Agreement. (See, e.g., D.I. 2,

Ex. 1 §§ 16.1, 18.12.3; Ex. 2 at 1; Ex. 3.; Ex. 4.) Review of paragraphs 8-31 in the

Petition demonstrates these portions all include information from Plaintiff’s

exhibits. (See, e.g., D.I. 2 ¶¶ 8-23 (referencing Ex. 1), id. ¶¶ 24-25 (referencing

Ex. 2), id. ¶¶ 26-29 (referencing Ex. 3), id. ¶¶ 30-31 (referencing Ex. 4).); (see also

Davis Dec.)

      7.      Candidly, Plaintiff is not motivated to litigate in secret, and did not

file a Motion to Seal for that reason. Plaintiff’s filing of its original Motion to Seal

and this Motion for Reconsideration is predicated on §§ 16.1 and 18.12.3’s

requirement that the information in the Petition be maintained as confidential. And

this Court’s precedent permits closure under these circumstances. See, e.g.,

Intellectual Ventures Mgmt., C.A. No. 17-1002-CFC, D.I. 12 (“IV may file its (1)

Petition to Vacate Final Arbitration Award and exhibit . . . under seal.”).




                                            4
      8.     For these reasons, Plaintiff respectfully submits: (1) good cause is

present to seal the Petition (D.I. 2) pursuant to the confidentiality provision in the

Agreement, and (2) the Court may use its discretion to grant Plaintiff’s request for

reconsideration to avoid manifest injustice to both parties in this action. A

Proposed form of Order is attached for the Court’s approval.


                                               Respectfully submitted,

                                               BAYARD, P.A.
                                               /s/ Ronald P. Golden III
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                                           5
          Certificate of Font-Type Size and Word Count Compliance

      I hereby certify that the forgoing brief complies with the Honorable Chief

Judge Colm F. Connolly’s Standing Order Regarding Briefing In All Cases, in that

it has been prepared with Times New Roman font, 14 point, and the substance of

this speaking motion totals 886 words according to the word-processing system

used to prepare it, which falls within the 5,000 word limitation.

Dated: June 9, 2022



                                              /s/ Ronald P. Golden III
                                              Ronald P. Golden III (#6254)




                                          6
